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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND

JOHN SMYTH, ADMINISTRATOR OF THE                      :
ESTATE OF ROBERT R. SMYTH                             :
(DECEASED)                                            :
                          Plaintiff,                  :
                                                      :
v.                                                    :              C.A. No.:

                                                      :
THE UNITED STATES OF AMERICA,                         :
                          Defendant.                  :


                                          COMPLAINT


                                        INTRODUCTION

        Plaintiff John Smyth, on behalf of decedent Robert R. Smyth, brings this action to

recover for the severe injuries to and wrongful death of Robert R. Smyth following diagnostic

arthroscopy of his shoulder as a result of the negligence of THE UNITED STATES OF

AMERICA, by and through its employees, JOHN N. BERGERON and WOOD RIVER

HEALTH SERVICES.

                                 JURISDICTION AND VENUE

     1. This court has jurisdiction over plaintiffs’ claims pursuant to 28 U.S.C. § 1346(b)(1).

     2. Venue is proper pursuant to 28 U.S.C.A. § 1402(b) because the plaintiff resides in Rhode

        Island and the negligence of the defendant occurred in Rhode Island.

                                             PARTIES

     3. Plaintiff John Smyth is the administrator of the estate of decedent Robert R. Smyth. John

        Smyth is a citizen of the state of Rhode Island.
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   4. THE UNITED STATES OF AMERICA, by and through its employees, JOHN N.

       BERGERON and WOOD RIVER HEALTH SERVICES who were acting within the

       scope of their employment at all times relevant to this complaint. Accordingly, the United

       States has waived its sovereign immunity under the Federal Tort Claims Act (“FTCA”).

    COUNT ONE: WRONGFUL DEATH OF ROBERT R. SMYTH – NEGLIGENCE

Paragraphs 1 - 4 are incorporated by reference as if fully set forth herein.

   5. The FTCA, 28 U.S.C. §§ 1346(b), 2671-2680, allows for a waiver of the United States’

       immunity where a federal employee has committed negligence while acting within the

       scope of his or her employment.

   6. Liability of the United States is predicated specifically on 28 U.S.C. §§ 1346(b)(1) and

       2674 because the personal injuries, wrongful death, and resulting damages that form the

       basis of this complaint, were proximately caused by the negligence, wrongful acts and/or

       omissions of employees of the United States of America through its agency, the United

       States Department of Health and Human Services, Public Health Service. These

       employees were acting within the course and scope of their office or employment, under

       circumstances where the United States of America, if a private person, would be liable to

       the Plaintiff in the same manner and to the same extent as a private individual under the

       laws of the State of Rhode Island.

   7. WOOD RIVER HEALTH SERVICES and JOHN N. BERGERON were acting within

       the scope of their employment as employees of the Public Health Service at all times

       relevant to this complaint.
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  8. WOOD RIVER HEALTH SERVICES and its servants, agents, apparent agents, and/or

     employees, including JOHN N. BERGERON, are deemed the servants, agents, apparent

     agents, and/or employees of the United States of America under the FTCA for the

     purposes of this complaint.

  9. Pursuant to 28 U.S.C. § 2675(a), plaintiffs have satisfied the FTCA exhaustion

     requirement by filing an administrative tort claim with the Department of Health and

     Human Services on May 11, 2015, having received no notice of final determination on

     said claim before November 11, 2015.

  10. Under 28 U.S.C.A. § 1346(b)(1), the liability of the United States is governed by the law

     of the place where the negligence occurred.

  11. An opinion letter setting forth the bases for plaintiff’s good faith belief that WOOD

     RIVER HEALTH SERVICES and JOHN N. BERGERON committed negligence is

     attached hereto and incorporated herein as Exhibit A.

  12. THE UNITED STATES OF AMERICA, by and through its employees WOOD RIVER

     HEALTH SERVICES and JOHN N. BERGERON, undertook the treatment, monitoring,

     diagnosis, and supervision of the decedent, ROBERT R. SMYTH, for treatment of a torn

     rotator cuff and for pre-operative clearance.

  13. JOHN N. BERGERON is a Rhode Island resident who at all relevant times was licensed

     by the State of Rhode Island as a physician, and board certified in internal medicine.

  14. WOOD RIVER HEALTH SERVICES is a healthcare provider licensed to do business in

     the State of Rhode Island that provides the services of physicians, nurses, and other

     health care professionals.
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  15. At all relevant times, JOHN N. BERGERON was a servant, agent, apparent agent, and/or

     employee of WOOD RIVER HEALTH SERVICES.

  16. At all relevant times, it was the duty of the UNITED STATES OF AMERICA, by and

     through its employee, JOHN N. BERGERON to exercise that degree of care and skill

     expected of a reasonably competent internal medicine physician treating a patient like

     ROBERT R. SMYTH.

  17. At all relevant times, it was the duty of the UNITED STATES OF AMERICA, by and

     through its employee, WOOD RIVER HEALTH SERVICES to exercise that degree of

     care and skill expected of a reasonably competent healthcare provider treating a patient

     like ROBERT R. SMYTH.

  18. WOOD RIVER HEALTH SERVICES and its servants, agents, apparent agents, and/or

     employees, including JOHN N. BERGERON, provided care to ROBERT R. SMYTH for

     a torn rotator cuff beginning on or about June 6, 2013.

  19. On June 6, 2013 and June 11, 2013, WOOD RIVER HEALTH SERVICES and its

     servants, agents, apparent agents, and/or employees, including JOHN N. BERGERON,

     undertook the treatment, monitoring, diagnosis, and supervision of the decedent,

     ROBERT R. SMYTH, for pre-operative care.

  20. While under the care, treatment, monitoring, diagnosis, and supervision of the United

     States, by and through its employees WOOD RIVER HEALTH SERVICES and JOHN

     N. BERGERON, ROBERT R. SMYTH suffered severe, serious, painful and permanent

     conditions as hereinafter set forth in Paragraph 22.
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  21. The said injuries to ROBERT R. SMYTH were caused by the failure of the United States,

     by and through its employees WOOD RIVER HEALTH SERVICES and JOHN N.

     BERGERON, to exercise reasonable care under all of the facts and circumstances in that

     they:

        a. failed to adequately and properly care for, treat, diagnose, monitor and supervise

             ROBERT R. SMYTH;

        b.   improperly underestimated ROBERT R. SMYTH’s risk for anesthesia;

        c. failed to identify risk factors that could adversely affected ROBERT R. SMYTH’s

             morbidity and mortality;

        d. in the pre-operative period, failed to recognize how sick ROBERT R. SMYTH

             was;

        e. failed to perform a comprehensive pre-operative medical evaluation and

             assessment prior to clearing ROBERT R. SMYTH for surgery;

        f. failed to take an accurate history of ROBERT R. SMYTH’s past/present medical

             conditions;

        g. failed to take an accurate history ROBERT R. SMYTH’s past/present medication

             use;

        h. failed to take an accurate history of ROBERT R. SMYTH’s past surgical

             procedures;

        i. failed to complete a “Review of Systems” for ROBERT R. SMYTH;

        j. failed to complete a thorough pre-operative physical examination of ROBERT R.

             SMYTH;
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        k. failed to properly assimilate ROBERT R. SMYTH’s past/present medical

           conditions, medication use, and surgical procedures into an Assessment;

        l. failed to determine if any of ROBERT R. SMYTH’s conditions, whether

           diagnosed or undiagnosed, suggest the need for further evaluation;

        m. failed to postpone the June 27, 2013, surgical procedure until ROBERT R.

           SMYTH’s conditions were diagnosed, treated and under reasonable control;

        n. failed to learn about ROBERT R. SMYTH’s history of asthma;

        o. failed to learn about ROBERT R. SMYTH’s history of inhaler use;

        p. failed to ask ROBERT R. SMYTH questions about snoring, daytime fatigue and

           falling asleep easily during the day;

        q. failed to diagnose untreated sleep apnea;

        r. failed to discuss the possibility of sleep apnea with ROBERT R. SMYTH;

        s. failed to review the EKG taken of ROBERT R. SMYTH on June 6, 2013;

        t. failed to interpret the EKG taken of ROBERT R. SMYTH on June 6, 2013;

        u. improperly determined that ROBERT R. SMYTH was stable for June 27, 2013

           surgery with “no medical contraindication”;

        v. improperly determined that ROBERT R. SMYTH’s risk for surgery on June 27,

           2013 was low to moderate;

        w. failed to order pre-operative diagnostic testing of ROBERT R. SMYTH before his

           June 27, 2013 surgery;

        x. failed to refer ROBERT R. SMYTH to a pulmonologist for pre-operative

           evaluation prior to his June 27, 2013 surgery;
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        y. improperly cleared ROBERT R. SMYTH for June 27, 2013 surgery without

            properly and adequately working him up for lung disorders;

        z. improperly cleared ROBERT R. SMYTH for June 27, 2013 surgery before

            obtaining the necessary pre-operative testing;

        aa. failed to adequately document ROBERT R. SMYTH’s medication use in the

            medical record;

        bb. failed to adequately document ROBERT R. SMYTH’s history of asthma in the

            medical record;

        cc. failed to adequately document in the medical record a review or interpretation of

            ROBERT R. SMYTH’s EKG taken on June 6, 2013;

        dd. failed to provide nurses, physicians, and other professional medical personnel who

            possessed the requisite knowledge, skill, and experience to adequately and

            properly care for, treat, diagnose, monitor, and supervise ROBERT R. SMYTH

            during the pre-operative period preceding his June 27, 2013 surgery;

        ee. failed to promulgate and/or enforce rules, regulations, standards, and protocols for

            the treatment of patients such as ROBERT R. SMYTH.

  22. As a result of the carelessness and negligence of the United States, by and through its

     employees WOOD RIVER HEALTH SERVICES and JOHN N. BERGERON, ROBERT

     R. SMYTH suffered the following severe, serious, painful, and permanent injuries:

        a. dyspnea;

        b. tachypnea;

        c. severe respiratory distress;

        d. drop in oxygen saturation;
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        e. compromised respiratory function;

        f. hypoxia;

        g. hypoxemia;

        h. phrenic nerve block;

        i. hemi-diaphragm paralysis;

        j. anxiety;

        k. combativeness;

        l. re-intubation;

        m. pneumonia;

        n. bibasilar atelectasis and/or infiltrates;

        o. pleural effusion;

        p. interstitial pulmonary edema;

        q. acute renal failure;

        r. acute respiratory failure;

        s. cephalic vein thrombus;

        t. enlarged heart;

        u. oliguria;

        v. bacteremia;

        w. prolonged ventilator support;

        x. difficulty weaning from ventilator;

        y. prolonged bedrest;

        z. prolonged hospitalization;

        aa. pulmonary embolus;
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        bb. tracheostomy;

        cc. loss of airway;

        dd. multiple procedures and tests;

        ee. multiple catheter insertions;

        ff. antemortem pain and suffering;

        gg. psychological, physiological and neurological sequalae;

        hh. cardiopulmonary arrest;

        ii. death.

  23. As a result of the aforementioned injuries and death, ROBERT R. SMYTH has been

     permanently deprived of his ability to carry on and enjoy life’s activities and his earning

     capacity has been forever destroyed.

  24. As a further result of the aforementioned injuries and death, the ESTATE OF ROBERT

     R. SMYTH has incurred expenses for medical care and treatment and funeral costs all to

     its financial loss.

  25. By reason of the death of ROBERT R. SMYTH, his Estate and his beneficiaries have

     suffered damages as set forth in R.I. Gen. Laws §§10-7-1 et seq., including but not

     limited to §10-7-1.1, and were otherwise damaged.

  26. By reason of the foregoing, ROBERT R. SMYTH suffered severe injuries to his mind

     and body, nerves and nervous system, endured extreme pain and suffering, all of which

     damages are remunerable under R.I. Gen. Laws §§10-7-7, and was otherwise damaged.

  27. By reason of the foregoing, ROBERT R. SMYTH and/or his Estate have incurred

     expenses, all of which are remunerable under R.I. Gen. Laws §§10-7-5, and were

     otherwise damaged.
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   28. By reason of the death of ROBERT R. SMYTH, his Estate and beneficiaries have

       suffered damages as set forth in R.I. Gen. Laws §§10-7-5, et seq. and were otherwise

       damaged.

                                     PRAYER FOR RELIEF

Paragraphs 1 – 28 are incorporated by reference as if fully set forth herein.

Plaintiffs request the following relief:

   29. Compensatory damages in the amount of $5,000,000.00

   30. Such other relief as the Court deems appropriate.

                                              Plaintiff,
                                              By his attorneys,


                                              /s/ Zachary M. Mandell
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Dated: May 6, 2016


                             Plaintiffs hereby demand Trial by Jury.
